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                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 19-12154-LSS
Keisha Matos Joaquin-Blofsky                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-0                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 03, 2019
                                      Form ID: 318                       Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 05, 2019.
db             +Keisha Matos Joaquin-Blofsky,    48274 Choptank Pl,   Lexington Park, MD 20653-4578
30944979       +Citibank Best Buy,   Citibank Corp/Centralized Bankruptcy,     PO Box 790034,
                 St Louis, MO 63179-0034
30946640       +Comptroller of the Treasury,    Compliance Division, Room 409,    301 W. Preston Street,
                 Baltimore, MD 21201-2305
30944981       +Equity Management, Inc,    4400 Rena Rd,   Forrestville, MD 20746-3602
30944984       +Peroutka Law Group,   8028 Ritchie Hwy, Ste 300,    Pasadena, MD 21122-1360
30944986       +Protak Spivok and Collins,    4330 East West Highway, Ste 900,    Bethesda, MD 20814-4454

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
30944976        EDI: BANKAMER2.COM Jun 04 2019 00:53:00      Bank of America,    PO Box 15168,
                 Wilmington, DE 19850
30944977       +EDI: CAPITALONE.COM Jun 04 2019 00:53:00      Capital One,    Attn: Bankruptcy,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
30944978       +EDI: CAPITALONE.COM Jun 04 2019 00:53:00      Capital One/Dress Barn,    Attn: Bankruptcy,
                 PO Box 30285,   Salt Lake City, UT 84130-0285
30944980       +EDI: CHRYSLER.COM Jun 04 2019 00:53:00      Daimler Chrysler Services North,
                 4600 Touchton Rd, Ste Ste 400,    Jacksonville, FL 32246-1536
30944982       +EDI: MERRICKBANK.COM Jun 04 2019 00:53:00      Merrick Bank/CardWorks,    Attn: Bankruptcy,
                 PO Box 9201,   Old Bethpage, NY 11804-9001
30944983       +EDI: NFCU.COM Jun 04 2019 00:53:00      Navy FCU,   Attn: Bankruptcy,    PO Box 3000,
                 Merrifield, VA 22119-3000
30944985       +EDI: PRA.COM Jun 04 2019 00:53:00      Portfolio Recovery,    PO Box 41021,
                 Norfolk, VA 23541-1021
30944987       +EDI: SWCR.COM Jun 04 2019 00:53:00      Southwest Credit Systems,    4120 International Parkway,
                 Suite 1100,   Carrollton, TX 75007-1958
30946639       +E-mail/Text: UIBankruptcyNotices.DLLR@maryland.gov Jun 03 2019 21:20:18
                 State of Maryland DLLR,    Division of Unemployment Insurance,    1100 N. Eutaw Street, Room 401,
                 Baltimore, MD 21201-2225
30946638       +E-mail/Text: jeanette.davis@stmarysmd.com Jun 03 2019 21:18:37       Taxing Authority of,
                 St. Mary’s County, MD,    Governmental Center - POB 653,   Leonardtown, MD 20650-0653
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
30944988          Stuart Blatt, Esquire,   INVALID ADDRESS PROVIDED
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 05, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 3, 2019 at the address(es) listed below:
              Gary A. Rosen   trusteerosen@gmail.com, md40@ecfcbis.com,grosen@garyrosenchartered.com
              Sonila Isak Wintz   sonila@isaklaw.com
                                                                                            TOTAL: 2
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Entered: June 3, 2019
Signed: June 3, 2019

SO ORDERED




Information to identify the case:
Debtor 1              Keisha Matos Joaquin−Blofsky                                 Social Security number or ITIN   xxx−xx−1225
                      First Name    Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name    Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Maryland

Case number: 19−12154 LSS                    Chapter: 7

Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:
       Keisha Matos Joaquin−Blofsky


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >
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Some debts are not discharged                              Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:             agreement are not discharged.

     ♦ debts that are domestic support                     In addition, this discharge does not stop
       obligations;                                        creditors from collecting from anyone else who is
                                                           also liable on the debt, such as an insurance
                                                           company or a person who cosigned or
     ♦ debts for most student loans;                       guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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